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                                 In the
             United States Court of Appeals
                        For the Eleventh Circuit
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